
USCA1 Opinion

	




                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________          No. 93-2098                            FRANCISCA MARRERO-GARCIA, THE                             OTHER PLAINTIFFS THAT APPEAR                            IN ADDENDUM NUMBER I ATTACHED                                TO THE COMPLAINT WHICH                                 NUMBER 367 PERSONS,                               Plaintiffs - Appellants,                                          v.                          MARIA MARGARITA IRIZARRY, ENGINEER                            AND EXECUTIVE DIRECTOR OF THE                               PUERTO RICO ACUEDUCT AND                           SEWAGE AUTHORITY IN HER PERSONAL                            AND OFFICIAL CAPACITY, ET AL.,                               Defendants - Appellees.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                 [Hon. Jaime Pieras, Jr., Senior U.S. District Judge]                                          __________________________                                 ____________________                                        Before                                Breyer,* Chief Judge,                                         ___________                         Torruella and Selya, Circuit Judges.                                              ______________                                _____________________               Jes s  Hern ndez S nchez,  with whom  Hern ndez S nchez  Law               ________________________              ______________________          Firm, Ariel  O. Caro P rez and Law Offices of Alvaro R. Calder n,          ____  ____________________     __________________________________          Jr., were on brief for appellants.          ___                                        ____________________          *  Chief Judge Stephen Breyer heard oral argument in this matter,          but did not  participate in the drafting  or the issuance  of the          panel's  opinion.   The remaining  two panelists  therefore issue          this opinion pursuant to 28 U.S.C.   46(d).               Georgiana S. Col n, with whom Edgardo Col n Arrar s, Goldman               __________________            _____________________  _______          Antonetti  C rdova &amp;  Axtmayer,  Enrique J.  Mendoza-M ndez,  Law          ______________________________   __________________________   ___          Offices of  Enrique J. Mendoza  M ndez, Mirta E.  Rodr guez Mora,          ______________________________________  ________________________          Department of  Justice, Federal  Litigation  Division, Manuel  E.                                                                 __________          Izquierdo, Arturo Tr as, and Tr as, Acevedo &amp; D az, were on brief          _________  ____________      _____________________          for appellees.                                 ____________________                                   August 24, 1994                                 ____________________                                         -2-                    TORRUELLA,  Circuit Judge.  Plaintiffs-appellants are a                                _____________          group of residents  of Condominium Bah a-A, located  at Calle Las          Palmas in Santurce, Puerto Rico ("the residents").  The residents          brought  this 42 U.S.C.    1983 action for  injunctive relief and          damages after the defendants-appellees, the Puerto Rico  Aqueduct          and Sewer  Authority ("PRASA") and its  officers, suspended water          services to the Condominium for a period of ten days.  Plaintiffs          allege  that by suspending water services, PRASA deprived them of          their property without due process of law.                    The district court  found that under the  circumstances          of this case,  the residents  did not have  a protected  property          interest in continued water service and, therefore, dismissed the          suit  on summary judgment.  This appeal  followed.  We affirm the          district court's decision.                                          I.                                          I.                                  STANDARD OF REVIEW                                  STANDARD OF REVIEW                                  __________________                    Federal  Rule  of Civil  Procedure  56(c)  provides for          entry  of  summary  judgment  when  "the pleadings,  depositions,          answers to interrogatories, and admissions on file, together with          the affidavits, if any, show that there is no genuine issue as to          any  material fact  and  that the  moving  party is  entitled  to          judgment  as a  matter of law."   A  party opposing  a motion for          summary  judgment "must  set  forth specific  facts showing  that          there is a genuine issue for trial."  Fed. R. Civ. P. 56(e); Mack                                                                       ____          v. Great Atlantic &amp; Pacific Tea Co., 871 F.2d 179,  181 (1st Cir.             ________________________________          1989).                                         -3-                    We review a district  court's grant of summary judgment          de novo, viewing the  record in the light  most favorable to  the          _______          nonmoving  party and  drawing  all reasonable  inferences in  the          nonmoving party's favor.   LeBlanc v. Great American Ins.  Co., 6                                     _______    ________________________          F.3d  836, 841 (1st  Cir. 1993).   "[W]e must reverse  if we find          that issues of fact which were adequately raised below need to be          resolved  before the related legal issues can be decided."  Mack,                                                                      ____          871 F.2d at 181.                                         II.                                         II.                                      BACKGROUND                                      BACKGROUND                                      __________                    The  facts of this case  are set forth  in the district          court's opinion,  Garc a  v.  Irizarry,  829 F.  Supp.  523,  525                            ______      ________          (D.P.R. 1993).  Here,  we quote only those facts relevant to this          appeal.                          Condominium Bah a-A (hereinafter "the                      Condominium")   is  a   234-unit  housing                      project  which  was originally  owned and                      developed    by   the    Corporaci n   de                      Renovaci n Urbana y Vivienda  ("CRUV"), a                      now-defunct public housing agency  of the                      Puerto Rican Government.  On November 11,                      1972, CRUV  opened  an account  with  the                      Puerto Rico Aqueduct and  Sewer Authority                      ("PRASA")  for  water and  sewer services                      for the Condominium.1  The  PRASA account                      served   all  of   the   units   of   the                      Condominium   through  a   single  meter.                      PRASA  thereafter  billed  and  collected                      from  CRUV for  water and  sewer services                      provided to the Condominium.                          In  early  1973,  ownership   of  the                      Condominium was passed to  its residents.                                        ____________________          1  PRASA  is the sole  provider of water  services within  Puerto          Rico.   It is a public  corporation created by virtue  of Law No.          33, of June 27, 1985, P.R. Laws Ann. tit. 27,   262 et seq.                                                              ______                                         -4-                      A  Council of  Owners of  the Condominium                      Bah a-A  ("the Council")  was constituted                      to, among other  things, "administer  all                      phases  and  aspects" of  the Condominium                      including  "contract[ing]  all  necessary                      services."   On  February 14,  1973,  the                      Council and the Board of Directors of the                      Condominium  notified Banco  de Vivienda,                      the mortgagor of the property,  that they                      had  taken over the administration of the                      Condominium.                          [The  residents]  have  alleged  that                      when they purchased their properties from                      CRUV they  were  told, as  an  incentive,                      that CRUV  would continue to  pay for all                      water and  sewer services.  CRUV  in fact                      continued to  be billed  and  to pay  for                      these  services until October 1, 1981, at                      which time CRUV  requested to [sic] PRASA                      that  it  cancel  the  account   for  the                      Condominium.                          For almost four years after  the CRUV                      account for the Condominium was canceled,                      PRASA made no effort to  collect from the                      Condominium's  residents  for  water  and                      sewer services provided.   No explanation                      has been provided for this situation.  On                      July 12, 1985, PRASA requested in writing                      that the Condominium,  through its  Board                      of  Directors, place a bond with PRASA to                      register an account  in its name.   PRASA                      warned  that the  failure to  register an                      account could lead to suspension of water                      services.  On July  22, 1985, the Council                      answered PRASA's request  by refusing  to                      pay  for  any  water and  sewer  services                      unless  individual meters  were installed                      for  each of the apartments."  (citations                      omitted).          829 F. Supp. at 524-25.                    Between September  of 1985 and December  of 1989, PRASA          officials  had  several  meetings  with  representatives  of  the          Council  and at  least  one meeting  with  the residents  of  the          Condominium to  discuss the situation.   See id.  at 525.   PRASA                                                   ___ ___                                         -5-          repeatedly "requested  that the  Condominium register  an account          and place the  required bond  for the water  and sewer  services.          PRASA proposed a plan whereby  the pending debt could be paid  in          installments.  The residents rejected PRASA's proposals and again          insisted on the installation of individual meters, to be paid for          by PRASA or CRUV."   Id.                                ___                          On July 24, 1990,  PRASA unilaterally                      opened  an  account   on  behalf  of  the                      Condominium  and  began  issuing  monthly                      bills.  The account was not requested  by                      the Condominium and  the Condominium  did                      not  place a  bond with  PRASA.   None of                      these bills were paid or  responded to in                      any  fashion  by  the  Condominium.    On                      April 3,    1991,   through    a   letter                      personally    delivered    to   Francisca                      Marrero, the  new President of  the Board                      of  Directors  of the  Condominium, PRASA                      requested  a payment  in  the  amount  of                      $448,872.08  for services  rendered under                      the  account.    PRASA  stated  that  the                      failure  to pay or  submit a proposal for                      payment would result in the suspension of                      the water services after 20 days.  A copy                      of the letter to Marrero was delivered to                      each  unit  along  with   another  letter                      urging  the residents  to take  action to                      avoid suspension of services.                          [The  residents]  have  alleged  that                      Marrero  requested  on several  occasions                      that  a  meeting  be  arranged  with  the                      Executive  Director  of PRASA,  defendant                      Mar a Margarita Irizarry, to  discuss the                      situation  and  that  her  requests  were                      refused.  [The residents] charge that the                      failure to grant the  requests for such a                      hearing violated their due process rights                      as established under Puerto Rico law.2                                        ____________________          2  Under  the Act  to Establish Procedural  Requirements for  the          Suspension of Essential Public Services, P.R.  Laws Ann. tit. 27,            262, all public agencies providing essential services must have          an administrative  procedure for the suspension  of such services          for nonpayment.  PRASA is one  of the agencies which must  comply                                         -6-                          On April 24, 1991,  21 days after the                      delivery  of  the  Marrero letter,  water                      service to the Condominium was suspended.                      On  May  3, 1991,  after  the Condominium                      agreed to  place a bond in  the amount of                      $5,000.00 to cover current monthly bills,                      the service was  reinstated.  Two  months                      later,  PRASA filed  a  complaint in  the                      Superior Court  of  Puerto Rico  for  the                      collection  of the amounts owed for water                      and  sewer  services  since 1981.    This                      complaint  was  thereafter filed  seeking                      relief    based    on    the    allegedly                      unconstitutional  10-day  deprivation  of                      water and sewer services.          Id. at 525-26.          ___                    The only  issue before the district  court was "whether          [the residents]  suffered a  deprivation of their  procedural due          process rights resulting from  PRASA's 10-day suspension of water          service  to the Condominium Bah a-A."  Id. at 527.   The district                                                 ___          court  stated that "[t]he  procedural due  process clause  of the          Fourteenth  Amendment   guarantees  citizens  with   a  protected          property  interest the right to  notice and an  opportunity to be          heard  prior to a deprivation of  such a property interest by the          government" and that "[a] threshold issue in this case is whether          [the residents] enjoyed a  protectable 'property' interest in the          water  service which  was suspended."   Id.   The  district court                                                  ___                                        ____________________          with this statute.   P.R. Laws Ann. tit. 2,    262a.  The statute          requires  that the  agency allow  a consumer,  upon receiving  an          adverse  decision by a  regional official within  the agency, the          opportunity to have  a hearing before  the executive director  of          the agency.   P.R. Laws  Ann. tit. 27,    262b(c); see  also P.R.                                                             _________          Laws Ann. tit. 27,   262b(e)(if  such a hearing is requested, the          consumer must pay  an amount  equal to his  average monthly  bill          before the hearing is held).   In addition, at no time while such          administrative  procedures are  being  developed may  the  agency          suspend the service.  P.R. Laws Ann. tit. 27,   262b(d).                                         -7-          indicated that "if such  a property interest does not  exist, the          due  process clause provides no  protection."  Id.   Finding that                                                         ___          "plaintiffs had no property interest in the continued  receipt of          water  services for  which they  never contracted,"  the district          court dismissed the case.  Id. at 529.                                     ___                                         III.                                         III.                                      DISCUSSION                                      DISCUSSION                                      __________                             A.  Issues of Material Fact                             A.  Issues of Material Fact                    The  residents first  argue  that  this case  presented          unresolved issues  of material fact, which  rendered the district          court's  grant  of  summary  judgment   erroneous.    A  fact  is          "material"  when it has "the  potential to affect  the outcome of          the suit under  the applicable law."  Nereida-Gonz lez v. Tirado-                                                ________________    _______          Delgado, 990  F.2d 701, 703 (1st Cir. 1993).  While this case may          _______          present  unresolved   issues  of  fact,  we   disagree  with  the          residents'  contention that  these disputes  are material  to the          resolution  of this action.  In particular, the residents contend          that  a  determination  of  whether CRUV  owed  the  residents  a          contractual  duty to pay the  water services is  material to this          dispute.   The residents also  contend that the  issue of whether          the residents were "clandestine users" of the water  services was          an unresolved issue of material fact.                    We disagree  with the residents' conclusion  that these          matters  are material  to the  resolution of  this dispute.   The          existence  of  any contractual  agreement  between  CRUV and  the          residents  is irrelevant to the issue before us, that is, whether                                         -8-          at the  time PRASA disconnected the water  service, the residents          had a  protected property  interest in  the continued  receipt of          water services.   A determination  of whether the  residents were          "clandestine users" is also unnecessary to the resolution of this          case as  regardless  of whether  or  not they  were  "clandestine          users,"  they still have not claimed  any facts that, if taken as          true,  would establish that they  had a property  interest in the          continued service of water.  Other allegedly unresolved issues of          fact  raised by  the  residents are  equally  immaterial to  this          dispute.                           B.  Protected Property Interest                           B.  Protected Property Interest                    "The Fourteenth Amendment places procedural constraints          on the actions of government that work a deprivation of interests          enjoying the  stature of 'property' within the meaning of the Due          Process  Clause."  Memphis Light  Gas &amp; Water  Division v. Craft,                             ____________________________________    _____          436 U.S. 1, 9 (1978).  In Board of Regents, the  Supreme Court of                                    ________________          the United States held that:                      To have a property interest in a benefit,                      a person  clearly must have more  than an                      abstract need for it.   He must have more                      than a unilateral expectation  of it.  He                      must, instead, have a legitimate claim of                      entitlement  to  it.  .  .  .    Property                      interests .  . .  are not created  by the                      Constitution.    Rather they  are created                      and  their  dimensions  are   defined  by                      existing rules or understanding that stem                      from an independent source such as state-                      law rules or  understandings that  secure                      certain benefits and that  support claims                      of entitlement to those benefits.          Board of Regents v. Roth, 408 U.S. 564, 577 (1972).          ________________    ____                    An interest becomes a  protected property interest when                                         -9-          recognized  by  state statute  or  a legal  contract,  express or          implied,  between the state agency and the  individual.  Id.  The                                                                   ___          residents  contend that  the district  court erred  in concluding          that  they "never  entered into  a contract  with PRASA,  for the          provision  of  water and  sewer services."    They argue  that an          implied contractual  arrangement existed  between  PRASA and  the          residents  by virtue of PRASA's  action of opening  an account on          behalf  of the residents, or in the alternative, as a consequence          of the provision  of water  services by PRASA  to plaintiffs  for          more than  20 years.   Plaintiffs do  not cite any  provisions of          Puerto  Rico  law  nor  any cases  to  support  their  position.3          Applying basic principles of contract law, we find their position          untenable.   Because Puerto Rico  is a civil  law jurisdiction we          also look to its substantive law to determine whether a different          outcome is forthcoming.                    Assuming,  for purposes  of this  appeal, that  PRASA's          action of opening an account and its continued rendition of water          services  to the  residents were  valid offers  to contract,  the          residents would still be  unable to establish the existence  of a          contract.   See Farnsworth at 135-136 ("One who begins to perform                      ___ __________                                        ____________________          3   In many jurisdictions  an offer does  not require formalities          and can  be made by  either written words  or other conduct.   E.          Allen Farnsworth,  Contracts    3.10, at 135  (2d ed.  1990).   A                             _________          contract "implied in fact" is one that results from conduct alone          and  is distinguished  from an  "express" contract  which results          from  words.  Id.    3.10, at 135.   The residents in the present                        ___          case  have  cited to  no  authority  establishing that  contracts          "implied  in fact" are valid  and binding under  Puerto Rico law.          See infra note 4.          ___ _____                                         -10-          services for another  in apparent expectation  of payment may  be          taken   to   be  offering   to   furnish   them  for   reasonable          compensation.").   Under  Puerto  Rico law,  the  consent of  the          contracting  parties  is an  essential  element  of a  contract.4          P.R. Laws  Ann., tit.  31,    3391.   "Consent  is  shown by  the          concurrence  of the  offer and  acceptance of  the thing  and the          cause which are to constitute the contract."  P.R. Laws Ann. tit.          31,    3401.     Hence,  an offer  standing  by  itself will  not          establish the presence of a binding contract.  Gonz lez Rodr guez                                                         __________________          v. Fumero, 38 P.R.R. 497, 504,  507-08 (1928).  Rather, in  order             ______          to have  a contract, acceptance must be made of that offer.  P.R.          Laws  Ann. tit. 31,    3401; see  also Jos  R.  V lez-Torres, Los                                       _________                        ___          Contratos  at  45-47 (1986).     PRASA  repeatedly  requested the          _________          Condominium  to place a  bond and to register  an account.  PRASA          also made  it  clear  to  the  residents  that  in  order  to  be          considered "registered users" with  PRASA, they had to  apply for          water   service  and  place   a  bond  in   accordance  with  the          requirements set  forth in  PRASA's rules  and regulations.   The                                        ____________________          4  Puerto Rico law establishes that:                    There is no  contract unless  the following  requisites          exist:                      (1)  The   consent  of   the  contracting                           parties.                      (2)  A  definite object which  may be the                           subject of the contract.                      (3)  The cause for  the obligation  which                           may be established.          P.R. Laws Ann. tit. 31,   3391.                                         -11-          residents refused to do so, thereby rejecting PRASA's offer.  See                                                                        ___          V lez-Torres  at 48-49  (an  acceptance should  be immediate  and          definitive,  should coincide in all its terms with the offer, and          should  be made  in  the manner  required  by the  offerer).   An          offeree's inaction or  "silence in the face of the  offer to sell          goods is not ordinarily an acceptance, because the offeror has no          reason to believe  from the  offeree's silence  that the  offeree          promises to  buy."  Farnsworth    3.15,  at 155; see  also V lez-                                                           _________          Torres at 56-57 (silence  ordinarily cannot constitute acceptance          of an  offer); Coghlan  v. Starkey, 845  F.2d 566, 570  (5th Cir.                         _______     _______          1988)  (neither the  mere receipt  of water  nor the  carrying of          plaintiff's  name   on  waterworks   rolls  as  user   created  a          contractual   relationship,  either  express  or  implied,  where          plaintiff refused to apply for water service).                      The residents also argue  that the fact that PRASA  was          having meetings and conversations  with the residents in relation          to the  water  and sewer  services  being rendered  evidences  an          implied contract.   We disagree with  plaintiffs' contention that          those meetings suggested the existence of such a contract.  These          meetings  were merely  discussions or negotiations  regarding who          should pay for the installation of individual water meters in the          Condominium, whether the  residents were required to pay for past          services rendered, and conditions for future water  service.  See                                                                        ___          Coghlan at  570  (negotiations  over backbill and  billing errors          _______          alone could not establish the type of property interests required          to raise disconnection  of water  service to a  deprivation of  a                                         -12-          valuable property right).                    The  residents next  contend  that  the district  court          erred  in concluding that  Puerto Rico law did  not confer on the          residents a property interest in continued water service.                    We look  to Puerto  Rico statutes to  determine whether          Puerto Rico law conferred such a property interest.  See Coghlan,                                                               ___ _______          845 F.2d  at 569.    Plaintiffs argue  that  Section 159  of  the          Aqueduct and  Sewer Act of Puerto Rico, P.R. Laws Ann. tit. 22,            141 et seq.,  establishes a property interest  in continued water              __ ____          services.  Section  159 authorizes PRASA  to establish rules  and          regulations  concerning the  use  and conservation  of water  and          provides, in relevant part,  that the purpose for which  PRASA is          created is:                      that the health of the inhabitants of the                      Island  of Puerto Rico shall be attained,                      that the health of the inhabitants of the                      Island    shall  be  protected,  that the                      water  available shall be utilized in the                      fullest  measure  possible  and  that  it                      shall be made available to  the consumers                      with the greatest possible regularity and                      continuity.          P.R. Laws Ann. tit. 22,   159 (1989).                    The  residents contend that they are "consumers" within          the meaning  of Section  159 and  as such  have  a state  created          property  interest in regular and  continuous water services.  We          need  not  determine  whether  Section  159  creates  a  property          interest in consumers because  we do not believe that  plaintiffs          are "consumers."  The Aqueduct and Sewer Act  does not define the          term  "consumer."   Neither do  the  Regulations issued  by PRASA                                         -13-          provide  a  definition  of the  term.    The  residents have  not          proffered  any other  authoritative  interpretation  of the  term          "consumer"  which would  indicate they  were included  within the          meaning  of the word.   We interpret the  term "consumer" in this          context  to be  limited  to persons  who  pay or  otherwise  give          consideration for  goods or services  rendered.  We  believe this          interpretation is consistent with the common understanding of the          term.  It is also  consistent with a basic tenet of  the Aqueduct          and Sewer Authority, namely that "[t]he Authority shall render no          free Services."  P.R. Laws Ann.  tit. 22,   158.  In the  present          case,  the  residents  refused  to  comply  with  the  procedures          established by  PRASA that would  give them consumer  status with          respect  to PRASA.  They refused to  register an account, place a          bond  or  pay  for water  services.    Therefore,  they were  not          "consumers" as we interpret that term under Section 159.                    In the alternative, the residents contend that they are          "users"5  of the  aqueduct and  sewer services,  as that  term is                                        ____________________          5  In its definition section, the Regulations for Administrative-          Legal Procedures  of PRASA provides the  following definitions of          "users":                      User - Person who enjoys  the services of                      User                      aqueducts  and/or   sewer  including  any                      person  or entity  who discharges  in the                      sanitary system, whether said person is a                      subscriber or not.                      (a) Subscriber user -  Person who enjoys the aqueduct                          Subscriber user                      and  sewer services  registered  in the  name of  the                      Authority.                      (b)  Non-subscriber  user  -  Person  who enjoys  the                           Non-subscriber  user                      aqueduct and sewer services registered in the name of                      another person.                      (c)  Clandestine user - Person who enjoys                           Clandestine user                                         -14-          defined  in  PRASA  regulations  and  as  such,  have  a property          interest in continued  services.  The residents  have not pointed          to any  legal  authority  which  indicates that  "users"  have  a          property interest in water services.  Rather,the residents merely          argue that somehow PRASA's regulations defining "user" to include          "non-subscriber-users"  and  "clandestine-users"   give  them   a          property interest in water services.  They rely on the regulatory          definition of "Aqueduct Service" as "water supply for the benefit          of  a  subscriber  or user"  as  a  basis  for this  proposition.                             _______          Regulation for Administrative-Legal Procedures of the Puerto Rico          Aqueducts and Sewer Authority, Chap. II (emphasis added).                      The  residents  have cited  no  authority,  and we  are          unable to find any,  indicating that regulatory definitions alone          are  sufficient to establish  a property interest.   The relevant          case-law is  to the contrary  and suggests that  these regulatory          definitions cannot  establish a  constitutional right  to receive          water services.  See Coghlan, 845 F.2d at 570 n.3 (examination of                           ___ _______          charter  creating  waterworks  and  other  sub-statutory  sources          including regulatory  statements, for a  provision establishing a          right  to water services is unnecessary and improper);  Gorham v.                                                                  ______          Hutto, 667  F.2d 1146 (4th Cir.  1981) (administrative guidelines          _____          are not a  sufficient basis  for the  creation of  a due  process          interest); Bills  v.  Henderson, 631  F.2d 1287  (6th Cir.  1980)                     _____      _________                                        ____________________                      the   aqueduct   and/or  sewer   services                      without being authorized for it.          Regulation for Administrative-Legal Procedures of the Puerto Rico          Aqueducts and Sewer Authority, Chap. II (1989).                                         -15-          (procedural rules  created by state administrative  bodies cannot          serve  as a  basis for  a separate  protected liberty  interest);          Sterling v. Maywood, 579  F.2d 1350, 1354 (7th Cir.  1978) (where          ________    _______          "plaintiff has  neither a  contractual nor  a statutory basis  to          support her claim, . .  . [she] was not deprived of a due process          right by defendants [sic] termination of her water service").  We          therefore conclude  that the regulatory definitions  on which the          residents  rely do not provide  a sufficient basis  for finding a          property interest.                     Finally, even  if the residents were  able to establish          that they  had a protected  property interest in  continued water          service, they were not deprived of due process.  The question  of          what  process is due is a question of federal constitutional law.          Cleveland  Brd. of Educ. v. Loudermill, 470 U.S. 532, 541 (1985).          ________________________    __________          Due  process  generally requires  "that  a  deprivation of  life,          liberty, or property  be preceded by  notice and opportunity  for          hearing  appropriate to  the  nature of  the case."   Id.  at 542                                                                ___          (internal citation  and  quotations omitted).    "[T]o  determine          whether a constitutional violation  has occurred, it is necessary          to  ask what  process  the State  provided,  and whether  it  was          constitutionally adequate."  Zinermon v. Burch, 494 U.S. 113, 126                                       ________    _____          (1990).                      First, we summarize the  procedures provided.  In 1986,          PRASA  began sending  the Board  of Directors of  the Condominium          notices warning that failure to  place a bond and to register  an          account on behalf of the Condominium could lead to the suspension                                         -16-          of water services.   PRASA officials also  met with the Board  of          Directors and  with the residents  of the Condominium  to discuss          the  situation and proposed a plan  whereby the Condominium could          pay  the pending debt in  installments.    The residents rejected          the proposed plan.  In 1990, PRASA unilaterally opened an account          on  behalf of  the Condominium  and began issuing  monthly bills.          The Condominium neither paid these bills nor responded to them in          any fashion.  On April 3, 1991,  PRASA  delivered a letter to the          President of the Board of Directors of the Condominium requesting          a payment  in the  amount  of $448,872.08  for services  rendered          under  the  account.   PRASA stated  that the  failure to  pay or          submit  a proposal for payments would result in the suspension of          water  services after  twenty days.   A  copy of  the  letter was          delivered to  each  unit along  with  another letter  urging  the          residents to take action to avoid the suspension of services.                    In determining the adequacy  of the procedures afforded          the residents we balance  the competing interests at stake.   Id.                                                                        ___          These  are the  residents'  private interest  in continued  water          service, PRASA's  interest in receiving payment  for its services          and the avoidance of  administrative burdens, and the risk  of an          erroneous  deprivation  of  water   services.    See  Mathews  v.                                                           ___  _______          Eldridge,  424  U.S. 319,  335 (1976).    The receipt  of utility          ________          services is a  necessity of  modern day life  and undoubtedly  an          important  interest,  however,    PRASA's interest  in  receiving          payment  for its  services  is also  significant.   It  would  be          unreasonable to expect PRASA  to continue providing free services                                         -17-          to the  residents indefinitely.  PRASA gave  the residents notice          on several occasions of its  intention to discontinue services if          the  residents  did   not  comply  with  PRASA's   administrative          requirements.    PRASA  officials  also held  meetings  with  the          residents and  the  Board of  Directors  of the  Condominium  and          discussed with  them alternative solutions to the problem.  Thus,          the residents were given notice of  PRASA's intended action, they          were informed of how  to resolve the situation and  given several          opportunities to be heard  on the matter.  We do  not see how any          additional  procedures  could  better  safeguard  the  residents'          interests so  as to justify the  additional administrative burden          of  such procedures.   We have no  doubt that the  residents were          given more than adequate due process.                    The  residents   were   not  entitled   to   additional          procedures  set forth in the Puerto Rico Act to Establish Minimum          Procedural Requirements  for the  Suspension of  Essential Public          Services  because  this  Act  affords such  protections  only  to          "subscribers" of utility services.   See P.R. Laws Ann.  tit. 27,                                               ___             262b(a),  262b(b), 262b(c), 262b(e), 262b(g)  and 262b(h); see                                                                        ___          also  infra note  2. By failing  to contract  with PRASA  for the          ____  _____          provision of  water and sewer  services, the residents  failed to          achieve subscriber status.  The residents' failure to comply with          PRASA's  administrative  requirements  prevents  them   from  now          claiming  an entitlement  to  PRASA's administrative  procedures.          See United States v.  Charles George Trucking Co., 823  F.2d 685,          ___ _____________     ___________________________          690-91 (1st  Cir. 1987) ("A party who is aware of, and chooses to                                         -18-          ignore, an  available avenue for redress cannot  later be allowed          to characterize his refusal  to travel the road as  tantamount to          the  road being closed  -- or  to no  road being  in existence");          Coghlan, 845 F.2d at 569 (there is no support for the proposition          _______          that  there is a  constitutional right to  receive utilities when          the  applicant refuses  to comply with  reasonable administrative          procedures) (internal quotation and citation omitted).                               C.  Motion for Sanctions                               C.  Motion for Sanctions                    Defendants have asked this court to impose double costs          and  attorney's fees as a  sanction for pursuing  this action and          further filing this appeal.  Their request is denied.                    Affirmed.                    ________                                         -19-

